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   Message
   From:
   Sent:          1/12/2015 10:25:56 PM
   To:            Jovan Vavic [/o=ExchangeLabsiou=Exchange Administrative Group
                  (FYDIBOHF23SPDLT)/cn=Recipients/cn=db49746271f843f4a74aba6ff5ed2529-scxk5qh3]


   Hello Jovan,

   I hope that you had a great break and wonderful holiday season. I wanted to thank you and illustrate how
   profoundly appreciative I am for the incredible opportunity you have given me here at USC as an individual
   member on the team as well as a student at this school. Unfortunately this was a much bigger commitment than
   I had planned on making and despite my best efforts, my grades reflected my inability to balance my academic
   and athletic life. Along with my academic struggles, I am also still very conscientious about my situation
   regarding my head. While water polo has gotten me very far in my life and always played a major
   role, I must start considering being more careful with my head. I already have 3 diagnosed
   concussions and with a very likely fourth concussion looming in the near future I must start
   considering my future. Because my body is already starting to burn out from water polo, I need to
   make sure the same doesn't happen with my head. I will need to use my brain for the next 70 years
   and for this reason I need to be focusing more on my academic life and my future over water
   polo. For these reasons, I will not be playing water polo this semester and will be focusing on my
   academic life and my future career in the business world.

   Thank you,




FOIA Confidential Treatment Requested                                                                    USC-00007045
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